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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

                  _______________________________________________

UNITED STATES OF AMERICA,                                   )

PLAINTIFF                                                   )

V.                                                          )

                                                            ) CASE NO: 13-cv-1832 (JDB)

ALL ASSETS HELD IN ACCOUNT NUMBER                           )

80020796, IN THE NAME OF DORAVILLE                          )

PROPERTIES CORPORATION AT DEUTSCHE                          )

BANK INTERNATIONAL LIMITED IN NEW JERSEY, )

CHANNEL ISLANDS AND ALL INTEREST,                           )

BENFIT OR ASSETS TRACEABLE THERETO, ET AL, )

AND                                                         )

THE FEDERAL REPUBLIC OF NIGERIA                             )

DEFENDANT INTERVENOR / CLAIMANT                             )



             VERIFIED CLAIM OF FEDERAL REPUBLIC OF NIGERIA


1.    Pursuant to Rule G (5) (a) of the Supplemental Rules for Admiralty or Maritime Claims

      and Asset Forfeiture Actions of the Federal Rules of Civil Procedure, Claimant Federal

      Republic of Nigeria (“Claimant” or “Nigeria”), by and through counsel; Godson M

      Nnaka, Charles Lion Agwumezie, Kenneth Nnaka, and Jude C. Ezeala hereby files this

      verified claim and asserts her interest and right in the Defendants in rem in this action.
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2.      Nigeria has a claim to, interest in, and right to the property (monies and other financial

        assets) seized by the United States pursuant to the “verified Complaint for Forfeiture in

        Rem” filed in this action under 18.U.S.C§981(a)(1)(A) for five corporate entities and

        more than $500 million in other assets involved in an international conspiracy to launder

        proceeds of corruption in Nigeria during the military regime of General Sani Abacha”

        (referred to as the “Defendant Property”). Defendant property is currently in the custody

        of the United States government or within its jurisdictional reach.



        a) The basis of Nigeria’s interest in the property is as follows :


            Nigeria is a sovereign nation situated in approximately 923,768 sq. km area in West

            Coast of Africa1. It gained independence from Great Britain in 1960. Its present

            population is estimated at 170 million people, 70% of who live on less than $1 per

            day. As recent as April, 2014, the World Bank considers Nigerians “extremely poor

            people.”2


        The economy of Nigeria is monolithic. Almost 95% of its national income comes from

        the sale of crude oil. For the most part of its history, Nigeria has been ruled by a string of

        brutal military dictators who oppressed the citizens, suppressed all forms of dissent or

        opposition and systematically institutionalized graft and corruption in the country




        b) In 1993, General Sani Abacha seized power from the country’s former military ruler,

            General Ibrahim Babangida. For the next five years, General Abacha ruled Nigeria
1
 Nigeria: CIA Fact Report, 2013
2
 In a briefing to the Council on Foreign Relations members in Washington, D.C> on April 1, 2014, World Bank
President Dr. Jim Young Kim stated that the Bank rated Nigerians among the “extremely poor” people of the world.
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             with iron fist, exercising plenary control over the economy and security agencies until

             his death in June 10, 1998. During this period, General Abacha, his family and

             cronies turned Nigerian public funds to their personal pockets in a spectacular display

             uncommon thievery and corruption through complex schemes of deception, fraud and

             embezzlement. According to Special Investigative Panel in the office of elected

             President of Nigeria, approximately $3 to $5 billion traced to General Abacha and his

             family were stolen, diverted or misappropriated from Nigerian public treasury.3




             c) Defendants properties in rem are part of the funds General Abacha, his family and

                associates stole, diverted or embezzled from the Nigerian public funds. Plaintiff

                conceded this fact when she averred in her complaint that;




             1. Between 1993 to June 10, 1998, Nigeria’s National Security Adviser,( Gwarzo ),

                 wrote letters addressed to and endorsed by General Abacha, each of which

                 resulted in the withdrawal of Nigeria’s public funds from CBN (Central Bank of

                 Nigeria) “ the funds were deposited into accounts controlled by, or used to

                 purchase assets[ the assets in rem] to the benefit of General Abacha, Bagudu, or

                 other members of the conspiracy” and “ at least $137 million was transported into




3
  Nigeria returned to democratic rule in 1999. Following discovery of General Abacha’s criminal raiding of public
treasury , the Government of Nigeria under President Olusegun Obasanjo notified and appealed to all international
organizations and countries to assist her in tracing, confiscating
 and returning the stolen funds. Additionally, the Government set up a special investigative panel (SIP), led by
Deputy Inspector General of Police (DIG), Peter Gana to trace, investigate, terminate, discourage and prevent the
laundering of the loot.
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                  and out of the United States, and into accounts held in the name of defendant

                  corporations.4



             2. General Abacha in association with his son” Mohammed Abacha, Bagudu, and

                  others defrauded Nigeria of more than $282 million by causing the government of

                  Nigeria to repurchase Nigeria’s par debt from one of their companies for more

                  than double what Nigeria would have paid to repurchase the debt on the open

                  market. In this fraudulent flipping of Nigeria’s debt, the Central Bank of Nigeria

                  paid and was defrauded the following:

             (a)§141,253,333 paid or transferred to Defendant Property on or before April 15,

         1997.

             (b)§141,253,333 paid or transferred to Defendant Property on or before April 22,

         1997.5



             3. $175 million of Defendant property constitute interest paid and received by

                  Defendant property in laundering the proceeds of the security votes fraud (item 1

                  above), and the Debt-Buy back fraud (item 2 above) through the defendants

                  purchase and transfer of U.S- backed Securities, Nigerian Par Bounds.6



             4. Between August 16, 1996 and May 22, 1998, the Central Bank of Nigeria

                  transferred $389,787,400 to Dumez account in Geneva. $97,375,543, or 25% was



4
  Plaintiff’s Complaint, at page 11 and 14
5
  Plaintiff’s Complaint at page 16 and 18
6
  Plaintiff’s Complaint, paragraph 52, page 20
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                 paid to General Abacha and co as kickback and $11,114,983 of this kickback was

                 transferred to defendant account 38175076.7

The above described acts were perpetrated in violation of Nigerian laws.


3.      From the foregoing, the conclusion is inescapable that Nigeria is the innocent owner8 of

the funds laundered by defendant corporate entities and is therefore entitled to the return of the

funds and the interests generated there from.


4.      Plaintiff, United States and Claimant, Nigeria are bound by Mutual Legal Assistance

Treaty9. Both countries are also signatories to and are bound by the provisions of the United

Nations Convention against Corruption (UNCAC). Nigeria is a Victim State in the criminal

scheme and corruption web that was established and operated by General Abacha and his family.

Chapter V of the United Nations Convention against Corruption mandates each State party to

facilitate repatriation of the forfeited assets back to the victim state – Nigeria.10




7
  Plaintiff’s Complaint, paragraphs 97 and 98,page 32
8
  The Civil Assets Reform Act of 2000 signed into Law on April 25, 2000 by President Clinton still preserved
“innocent owners” right to reclaim property sought to be forfeited. The Act defines an owner as “ a person with an
ownership or possessory interest in the specific property sought to be forfeited-including a leasehold, lien,
mortgage, recorded security interest, or valid assignment of an ownership interest’ 18 USC 981(d).
9
  The current Nigerian Attorney General and Minister of Justice, Mr. Mohammed Bello Adoke, SAN, stated that his
office has received requests from the Central Authority of the United States in this matter and is cooperating with
the United States in line with the obligations assumed under the Treaty on Mutual Legal Assistance in Criminal
matters. Nigerian Vanguard Newspapers, March 27, 2014.
10
   Chapter V, Article 53 of the United Nations Convention against Corruption (UNCAC), states as follows; “Each
State Party shall, in accordance with its domestic Law; (a) take such measures as may be necessary to permit
another State Party to initiate civil action in its courts to establish title to or ownership of property acquired
through the commission of an offence established in accordance with this Convention; (b) take such measures as
may be necessary to permit its courts to order those who have committed offences established in accordance with
this Convention to pay compensation or damages to another State Party that has been harmed by such offences;
and (c) take such measures as may be necessary to permit its courts or competent authorities, when having to
decide on confiscation, to recognize another State Party’s claim as a legitimate owner of property acquired
through the commission of an offence established in accordance with this Convention”.
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5.      Claimant was unaware of the complex criminal schemes of General Abacha and his

family until his demise in 1998. She did not have prior knowledge that General Abacha and his

family were stealing from public treasury during Abachas reign. As a sovereign state, it didn’t

participate in the alleged laundering of the embezzled security vote funds, or the proceeds of

debt- buy back fraud and the kickback collected from Dumez. But as established above, she is

the lawful owner of the funds “allegedly laundered in the fraudulent security votes, debt buy

back and Dumez extortion schemes”. Furthermore, Nigeria is a victim state in the Abachas

schemes, and the forfeited assets/defendant property is required to be repatriated back to her

under chapter V of the United Nations Convention against Corruption (UNCAC).11 For these

reasons, Nigeria prays for a right to defend this action and the return of its property as follows;


           1)    That the Court enter a decree ordering the forfeiture of the defendant property to

                 Federal Republic of Nigeria.

           2)    That the Court grant an order of forfeiture for liquidation of all forfeited/seized

                 assets/defendant property and conversion of all proceeds to liquid funds

                 denominated in the United States Dollars.



11
   Chapter V, Article 57 of the United Nations Convention against Corruption (UNCAC), states further as follows;
1.Property confiscated by a State Party pursuant to article 31 or 55 of this Convention shall be disposed of,
including by return to its prior legitimate owners, pursuant to paragraph 3 of this article, by that State in
accordance with the provisions of this Convention and its domestic Law. 3. In accordance with article 46 and 55 of
this Convention and paragraphs 1 and 2 of this article, the requested State Party shall; (a) In the case of
embezzlement of public funds or of laundering of embezzled public funds as referred to in articles 17 and 23 of this
Convention, when confiscation was executed in accordance with article 55 and on the basis of a final judgment in
the requesting State Party, a requirement that can be waived by the requested State Party, return the confiscated
property to the requesting State Party; (b) In case of proceeds of any other offence covered by this Convention,
when the confiscation was executed in accordance with article 55 of this Convention and on the basis of a final
judgment in the requesting State Party, a requirement that can be waived by the requested State Party, return the
confiscated property to the requesting State Party, when the requesting State Party reasonably establishes its prior
ownership of such confiscated property to the requested State Party or when the requested State Party recognizes
damage to the requesting State Party as a basis for returning the confiscated property; (c) In all other cases, give
priority consideration to returning confiscated property to the requesting State Party, returning such property to
its prior legitimate owners or compensating the victims of the crime.
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         3)    That this Court enter an order directing the immediate return and transfer of the

               Defendant property, in liquidated proceeds denominated in United States

               Currency back to Nigeria, less Attorney fees, costs and expenses approved by this

               Court.

         4)    Any and all other remedies deemed fit and appropriate.


I declare under penalty of perjury that the foregoing is true and correct.

                                       Executed on June 12, 2014

                                       /s/ Kenneth Nnaka
                                       TBA#24032796
                                       Law Offices of Nnaka & Associates, PLLC (Lead Firm)
                                       2650 Fountain View Dr. Ste. 332
                                       Houston, TX 77057
                                       Ph No: 713.266.1446 / Fax No: 713.266.1447


I declare under penalty of perjury that the foregoing is true and correct.

                                       Executed on June 12, 2014

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                                        VERFICATION
My name is Kenneth Nnaka. I am the attorney of record for the Claimant, Federal Republic of

Nigeria and duly authorized to make this claim on behalf of the Claimant. I have read the

foregoing Claim filed by and on behalf of the Federal Republic of Nigeria and every factual

allegation contained therein is true and correct to the best of my knowledge.




/s/ Kenneth Nnaka

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                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of this Claim was filed via the Court’s electronic
filing system and same forwarded to the Asst. U.S. Attorney Elizabeth A. Aloi, Washington, DC
on this 12th day of June, 2014.



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